                              Case 19-19939-AJC           Doc 55      Filed 02/18/20        Page 1 of 3




              ORDERED in the Southern District of Florida on February 14, 2020.




                                                                            A. Jay Cristol, Judge
                                                                            United States Bankruptcy Court
_____________________________________________________________________________
                                         UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                                        www.flsb.uscourts.gov

             In re: Anlliliet Gonzalez                                  Case No: 19-19939-AJC
                                                                        Chapter 13

                                Debtor        /

                              AMENDED1 ORDER GRANTING MOTION TO VALUE AND
                               DETERMINE SECURED STATUS OF LIEN ON PERSONAL
                                    PROPERTY HELD BY Wells Fargo Bank, N.A.

                     THIS CASE came to be heard on December 17, 2019                           on the Debtor’s Motion

             to Value and Determine Secured Status of Lien on Personal Property (DE                          31   ; the

             “Motion”). Based upon the debtor’s assertions made in support of the Motion, without

             objection, having considered the record in this case, and being duly advised in the

             premises, the Court FINDS as follows:

                     A. The value of the debtor’s personal property (the “Personal Property”) more

                          particularly described as follows (Select only one):

                               Motor vehicle described as follows:



         1
             Amended to reflect the amount on the unsecured bifurcated claim found at paragraph 3.

                                                              Page 1 of 3

         LF-103 (06/14/10)
                  Case 19-19939-AJC         Doc 55       Filed 02/18/20    Page 2 of 3




                    Year and Model of motor vehicle:
                    Vehicle Identification Number (VIN #):
                    Odometer reading:

              X Personal property other than a motor vehicle described as follows:

                    is $ 1,115.62     at the time of the filing of this case.

             Consequently, it is ORDERED as follows:

             1.     The Motion is GRANTED.

             2.     Lender has an allowed secured claim in the amount of $ 1,115.62                   .

             3.     (Select only one):

                       Lender has not filed a proof of claim in this case. The trustee shall not

                        disburse any payments to Lender unless a proof of claim is timely filed.

                        In the event a proof of claim is timely filed, it shall be classified as a

                        secured claim in the amount stated in paragraph 2, above, and as a

                        general unsecured claim for any amount in excess of scheduled

                        secured claim, regardless of the original classification in the proof of

                        claim as filed. Lender’s secured claim shall be paid through the plan

                        at          % for a total of $                 .

                                                   or

                    X Lender filed a proof of claim in this case. It shall be classified as a

                        secured claim in the amount provided in paragraph 2, above, and as

                        a general unsecured claim in the amount of $                     3,048.46         ,

                        regardless of the original classification in the proof of claim as filed.

                        Lender’s secured claim shall be paid through the plan at                    0.00

                        % for a total of $ 1,115.62                .


                                               Page 2 of 3

LF-103 (06/14/10)
                  Case 19-19939-AJC       Doc 55      Filed 02/18/20   Page 3 of 3




             4.     The Personal Property may not be sold or refinanced without proper notice

                    and further order of the Court.

             5.     Notwithstanding the foregoing, this Order is not recordable or enforceable

                    until the debtor receives a discharge in this chapter 13 case.

             6.     Upon notification that the debtor has received a discharge, the creditor shall

                    take all steps necessary to release the lien upon the personal property.

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 Submitted by:
 /s/ Robert Sanchez
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 Attorney Sanchez is directed to serve a conformed copy of this Order on all interested
 parties immediately upon receipt hereof and to file a certificate of service.




                                             Page 3 of 3

LF-103 (06/14/10)
